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                                                                       FILED
                                                                   LOS ANGELES SUPERIOR COURT

 3                                                                          MAY 11 2011
 4                                                                    JOHN A CLAAKE,AL.EAK
                                                                           · 'l( lfaravil)Jf
 5                                                                  BY NANCY~AVAARO, DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES

 9
     General Order Re                           )     ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )     EXTENDING TIME TO RESPOND BY
11   Stipulations                               )     30 DAYS WHEN PARTIES AGREE
                                                )     TO EARLY ORGANIZATIONAL
12                                              )     MEETING STIPULATION
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14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
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     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for
17

18   use in general jurisdiction civil litigation in Los Angeles County;

19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
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     Attorneys Association of Los Angeles; the Association of Southern California Defense
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23
     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25   litigation, and ask that counsel consider using these stipulations as a voluntary way to
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     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
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                                                    -1-
                                                                                       Exhibit A – Page 30
                                ORDER PURSUANT TO CCP 1054(a)
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            Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6
            Whereas, in order to promote a meaningful discussion of pleading issues at the
 7

 s   Early Organizational Meeting and potentially to reduce the need for motions to

 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
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13
            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
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     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
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     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
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     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote.
23
             IT IS HEREBY ORDERED that, in any case in which the parties have entered
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25   into an Early Organizational Meeting Stipulation, the time for a defending party to

26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
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                                                -2-
                                                                                 Exhibit A – Page 31
                                0RDER PURSUANT TO CCP 1054(a)
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I'




          by Code of Civil Procedure section 1054(a) without further need of a specific court

      2   order.




                                                   Carolyn B. Kuh Supervising Judge of the
                                                   Civil Departments, Los Angeles Superior Court
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                                                                                     Exhibit A – Page 32
                                   0RDER PURSUANT TO CCP 1054(a)
